                       Exhibit 2




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1                            UNITED STATES DISTRICT COURT
2                        FOR THE EASTERN DISTRICT OF MISSOURI
3                                  EASTERN DIVISION
4
5          GEORGE MOORE and VIRGINIA      ) CASE NO.
           CARTER, et al. on behalf of    ) 4:18-cv-01962-SEP
6          themselves and all others      )
           similarly situated,            )
7                                         )
                      Plaintiffs,         )
8                                         )
             v.                           )
9                                         )
           COMPASS GROUP USA, INC., D/B/A )
10         CANTEEN,                       )
                                          )
11                    Defendant.          )
           ______________________________ )
12
13
14
15                  VIDEOCONFERENCE DEPOSITION OF MARTHA MORGAN
16                                  VOLUME II
17                             Minneapolis, Minnesota
18                            Wednesday, May 10, 2023
19
20
21
22
23
24         Reported via Zoom by:         Jennifer K. Abe, CSR No. 10753
                                         Certified Shorthand Reporter
25

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1                            UNITED STATES DISTRICT COURT
2                       FOR THE EASTERN DISTRICT OF MISSOURI
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4
5          GEORGE MOORE and VIRGINIA            ) CAUSE NO.
           CARTER, et al. on behalf of          ) 4:18-cv-01962-SEP
6          themselves and all others            )
           similarly situated,                  )
7                                               )
                        Plaintiffs,             )
8                                               )
             v.                                 )
9                                               )
           COMPASS GROUP USA, INC., D/B/A )
10         CANTEEN,                             )
                                                )
11                      Defendant.              )
           ______________________________ )
12
13
14                       Continued Videoconference Deposition of
15         MARTHA MORGAN, Volume II, taken before Jennifer K. Abe, a
16         Certified Shorthand Reporter for the State of California,
17         beginning at 8:00 a.m. PST and ending at 10:12 a.m. PST,
18         on Wednesday, May 10, 2023.        This deposition is being
19         taken via Veritext Virtual, and all parties, the witness,
20         and the court reporter are appearing remotely.
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1          APPEARANCES OF COUNSEL:
2          FOR PLAINTIFF:
3                 K&L GATES, LLP
                  BY: NICOLE MUELLER, ESQ.
4                     (Appearing via Veritext Virtual)
                  70 West Madison Avenue
5                 Suite 3300
                  Chicago, Illinois 60602-1121
6                 TEL: (312) 372-1121 FAX: (312) 827-8000
                  Email: nicole.mueller@klgates.com
7
8          FOR DEFENDANT:
9                 ARIAS SANGUINETTI WANG & TORRIJOS, LLP
                  BY: ROBERT M. PARTAIN, ESQ.
10                    ANTHONY JENKINS, ESQ.
                      (Appearing via Veritext Virtual)
11                6701 Center Drive West
                  Suite 1400
12                Los Angeles, California 90045
                  TEL: (310) 844-9696
13                Email: robert@aswtlawyers.com
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1              A     Yes.    That represents the first time this

2          particular machine at this particular customer location

3          generated two-tier revenue.

4              Q     Alright.     And it's not date specific?        It's

5          month specific; is that right?

6              A     Yes.    Because it's the month when the device was

7          turned on, and it does not record the actual first

8          transaction.     We're recording the month it was turned on,

9          so not the specific October 10th.         It's the month of

10         October that it generated the first revenue.

11             Q     Alright.     And so the reason I ask that is, my

12         first question happened with this machine here on

13         Line 6.

14                   On Line 6 here, which was the fourth machine

15         identified as having cash discount sticker "N," it said

16         the first revenue date -- I'm sorry.          And that date was

17         March 26, 2019, when it was found to not have a cash

18         discount sticker.      The first revenue date was February

19         2021.

20                   How would I reconcile that?

21             A     Without seeing all of the rest of this data and

22         because you have sorted it in a manner of Column M, then

23         Column L, what I'm not seeing is, I'm not seeing the

24         entire context of that machine and the possibility that

25         it was on-site.

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1                    At this particular Walmart, there is

2          probably another transaction in this dataset for that

3          machine number at that cost center ID.

4                    So when you sort the reports as they were

5          provided by cost center by machine ID, Column C and D, if

6          the machine actually had been on-site at two different

7          account locations, you would see two different first

8          two-tiered dates, revenue dates.

9              Q     Okay.

10             A     One would --

11             Q     Go ahead.

12             A     So this particular row that you're showing is

13         telling me that it was on-site at this -- I'm sorry.

14         You --

15             Q     Yeah.    I moved back over to the columns you were

16         talking about while you were answering because I wanted

17         to understand what you were saying.

18             A     Can you please highlight the row so that we can

19         travel from left to right?       Yes.    Because you're not -- I

20         thought that's where we were is Walmart.          Thank you.

21             Q     So I highlighted the row you asked me to.             Tell

22         me where you want me to go.

23             A     So, in this particular case, without seeing the

24         spreadsheet and all possible instances of that same

25         machine at that cost center, what I don't see is this is

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1          showing it at a Walmart; and the first time at that

2          Walmart location, it generated two tier in that column

3          further to the right.

4              Q     So if I scroll all the way to the right here,

5          the first time it generated revenue at that Walmart, I

6          would find that right here in February of 2021.

7                    Is that what you're saying?

8              A     Yes.

9              Q     Okay.    And so what you're saying then is, this

10         machine, which was surveyed and found to not have a label

11         on March 26, 2019, was generating revenue somewhere else

12         at the time it was surveyed?

13             A     That is what I believe.        And until I see the

14         machine number at the two separate locations side by

15         side, I can't say that that's true; but that is based on

16         my experience with how these reports come together, yes,

17         there would be another row that matches that thing, cost

18         center machine ID, but not at that Walmart location.

19             Q     Okay.    So then let's search for Machine 94107 in

20         Cost Center 5533 in this data and see what we come up

21         with based on the answer you just provided to me.

22                   And it was Cost Center 5533.         That's not it.

23         That's not it.     You guys have a lot of machines in

24         San Francisco at ZIP code 94107 it looks like.

25                   Alright.     So we don't see any other place on

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1          this machine, and I searched every single 94107 on this

2          spreadsheet where that machine appears in the data that

3          was given to me by your attorneys, at least as of -- for

4          the last survey date of June 15th, 2022.

5                    And, as you sit here today, you don't know why

6          that would be?

7                    MS. MUELLER:     Objection; form.

8                    THE WITNESS:     I forgot what the word "form"

9          means.   Sorry.

10                   So I do not know specifically on this particular

11         row, it appears that this machine was surveyed on the

12         2019 date.    It appears that there was not a cash discount

13         sticker, and it appears at that time in March of 2019, it

14         was not generating two-tier revenue; and that two-tier

15         revenue at this particular location was later enabled,

16         and it started to generate two-tier revenue in that

17         date -- I can't see the date now -- the first time it

18         generated two-tier revenue.

19             Q     February --

20             A     February 2021.      Right.    But that is absolutely a

21         possibility that a machine in 2019 was not generating

22         two-tier revenue, and then it was turned on at a later

23         date.

24             Q     Alright.     So what I'm going to do is, I'm going

25         to take this survey instance ID.         I think you had told me

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1                                     CERTIFICATION

2                                           OF

3                            CERTIFIED SHORTHAND REPORTER

4

5                            I, the undersigned, a Certified Shorthand

6          Reporter of the State of California do hereby certify:

7                           That the foregoing proceedings were taken

8          before me at the time and place herein set forth; that

9          any witnesses in the foregoing proceedings, prior to

10         testifying, were placed under oath; that a verbatim

11         record of the proceedings was made by me using machine

12         shorthand which was thereafter transcribed under my

13         direction; further, that the foregoing is an accurate

14         transcription thereof.

15                          I further certify that I am neither

16         financially interested in the action nor a relative or

17         employee of any attorney of any of the parties.

18                          IN WITNESS WHEREOF, I have this date

19         subscribed my name.

20         Dated:   June 1, 2023

21

22

23                          <%14983,Signature%>

24                          Jennifer K. Abe

25                          CSR No. 10753

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